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                    UNITED STATES BANKRUPTCY COURT
                     NORTHERN DISTRICT OF FLORIDA
                           PENSACOLA DIVISION

In Re:                                       )
                                             )          Case No. 18-40261-KKS
Michael Echols                               )
     Debtor                                  )


      ORDER APPROVING CHAPTER 7 TRUSTEE’S APPLICATION TO
       RETAIN BK GLOBAL REAL ESTATE SERVICES TO PROCURE
     CONSENTED PUBLIC SALE PURSUANT TO 11 U.S.C. § 327 (Doc. 37)

         THIS MATTER having come before the Court on the matter of the

   Chapter 7 Trustee's Application To Retain BK Global Real Estate Services to

   Procure Consented Public Sale Pursuant to 11 U.S.C. §327 (Doc. 37) and the Court

   after being otherwise fully advised, it is:

         ORDERED:

         1.      The Application is APPROVED.

         2.      The Trustee is authorized to retain BK Global Real Estate Services,

   pursuant to the terms and conditions provided in the Application (Doc. 37).

                                        22nd day of January
         DONE AND ORDERED this the ____________________________, 2019.


                                                  ______________________________
                                                  KAREN K. SPECIE
                                                  United States Bankruptcy Judge

   This Order Prepared by: Sherry F. Chancellor,
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CC: All Parties in Interest

Sherry F. Chancellor is hereby directed to serve a copy of this order on interested
parties and file a certificate of service within 3 days of entry of the order
